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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                EVANSVILLE DIVISION

   LAWRENCE TARRICK PEARSON,

         Plaintiff,                            Case No: 3:17-cv-00059- RLY-TAB
   v.
                                               Honorable Judge Richard L. Young
   PROGRESSIVE LEASING, LLC,

        Defendant.


                                  ORDER OF DISMISSAL

         Plaintiff, LAWRENCE TARRICK PEARSON (“Plaintiff”), by and through his attorneys,

  SULAIMAN LAW GROUP, LTD., having filed with this Court a Notice of Voluntary Dismissal

  without Prejudice and the Court having reviewed same, now finds that this matter should be

  dismissed without prejudice.

         IT IS THEREFORE ORDERED by this Court that the above cause of action is hereby

  dismissed, without prejudice.

  DISTRIBUTION:


           9/19/2017
  Dated: ________________________

                                           _______________________________________
                                           Judge, U.S. District Court




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